                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

EDMUND ZAGORSKI,                                 )
                                                 )
       Plaintiff,                                )
                                                 )
v.                                               )       Case No. 3:18-cv-01035
                                                 )
BILL HASLAM, et al.,                             )       JUDGE TRAUGER
                                                 )
       Defendants                                )

                                            ORDER

       The petitioner, whose execution is scheduled for tomorrow, October 11, 2018, has filed a

Complaint alleging violations of his civil rights pursuant to 28 U.S.C § 1983, along with an

Emergency Motion for Temporary Restraining Order and Preliminary Injunction.

       Rule 65 of the Federal Rules of Civil Procedure authorize the issuance of an ex parte

temporary restraining order only in circumstances that demonstrate irreparable harm to the

moving party will occur before the adverse party can be heard. Fed. R. Civ. P. 65(b)(1). Despite

the very limited time available in this matter, the court finds that there is time to hear from the

defendants, and that it is important to do so. Accordingly, the defendants MUST file a response

to the plaintiff’s motion no later than 3:00 p.m. today, October 10, 2018.

       It is so ORDERED.




                                                 Aleta A. Trauger
                                                 United States District Judge




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